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 1                                                    CHIEF JUDGE DAVID G. ESTUDILLO
 2
 3
 4
                             UNITED STATES DISTRICT COURT
 5
                            WESTERN DISTRICT OF WASHINGTON
 6                                    AT TACOMA

 7
     UNITED STATES OF AMERICA,                    )   No. CR22-5139-DGE
 8                                                )
                    Plaintiff,                    )   MR. DEBORBA’S MOTION TO
 9                                                )   DISMISS THE INDICTMENT
               v.                                 )
10                                                )   NOTED: September 8, 2023
     JOÃO RICARDO DEBORBA,                        )
11                                                )   [Oral Argument Requested]
                    Defendant.                    )
12                                                )
13          Mr. DeBorba is a longstanding member of the community who now sits in
14   custody for attempting to exercise his fundamental rights. Mr. DeBorba is a hard-
15   worker, a churchgoer, and a devoted father who, like many others, hoped to exercise his
16   right to possess guns for self-defense. Yet the government seeks to deny him his rights
17   under the Second Amendment because he lacks regular immigration status and was
18   subject to certain restraining orders. He asks this Court to dismiss the charges against
19   him. First the Indictment charges him in Counts 1, 2, and 3, with crimes under statutes
20   that violates the Second Amendment, and is therefore unconstitutional and void.
21   Second, the Indictment alleges conduct in Counts 4, 5, and 6 that falls short of a crime
22   because the claimed false statements about his citizenship and immigration status in
23   connection with his efforts to acquire and carry firearms are not material under the
24   statutes charged. The Court should dismiss the Indictment against Mr. DeBorba and
25   order his immediate release.
26

                                                                 FEDERAL PUBLIC DEFENDER
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     I.       STATEMENT OF FACTS 1
 1
              Mr. DeBorba came to the United States as a very young man, initially on a
 2
     visitor’s visa in 1999. See Dkt. No. 2 at 7. He was promptly accompanied by his father.
 3
     See id. at 8. However, he soon built a family in the United States and has lived in this
 4
     country for over 20 years. See id. at 7–8; Ex. A.
 5
              Mr. DeBorba got married and had four children, all of whom are U.S. citizens.
 6
     See Ex. A. He worked hard to support his children and ensure they had a roof over their
 7
     heads and all of their needs met. See Ex. A; Dkt. No. 2 at 9–10. In addition, Mr.
 8
     DeBorba was involved with his community, and particularly was active in his church.
 9
     See Ex. A. However, despite his devotion and love of the United States, Mr. DeBorba
10
     had no path to regularize his immigration status during this time. See Ex. A.
11
              In 2019, after living in the United States for approximately 20 years, Mr.
12
     DeBorba submitted form applications to purchase and carry firearms. First, he applied
13
     for a concealed pistol license through the state of Washington. See Dkt. No. 2 at 10–11;
14
     Dkt. No. 9 at 4. On this application, Mr. DeBorba checked the “yes” box next to the
15
     question: “Are you a United States citizen?” And he checked the “no” boxes next to the
16
     questions: “Are you a permanent resident alien? And “Are you a legal alien temporarily
17
     residing in Washington?” See Dkt. No. 2 at 10; Dkt. No. 9 at 4.
18
              Later that year, he applied to purchase firearms. On these applications, he
19
     checked “United States” in response to a question inquiring about his citizenship, and
20
     checked “no” on certain questions about his immigration status—namely, whether he
21
     was a non-citizen unlawfully in the United States and whether he was a non-citizen who
22
     had been admitted on a nonimmigrant visa. See Dkt. No. 2 at 10–12; Dkt. No. 9 at 3–4.
23
24
25   1
      Mr. DeBorba here recites the statement of facts as alleged and charged by the
26   government for purposes of this Motion to Dismiss the Indictment. However, he
     maintains the right to take a contrary position at trial.
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 1          Later still in 2019, Mr. DeBorba was charged with a domestic violence
 2   misdemeanor and a restraining order was issued, restricting his contact with his then-
 3   wife except as related to visitation of his children, and prohibiting him from possessing
 4   firearms. See Dkt. No. 2 at 12–13; Dkt. No. 9 at 2–3. Police later arrested Mr. DeBorba
 5   on charges that he violated the restraining order and recovered numerous firearms still
 6   in his possession during this arrest. See id. Mr. DeBorba was later convicted of another
 7   domestic violence misdemeanor and again a restraining order was issued that prohibited
 8   Mr. DeBorba from possessing firearms. See Dkt. No. 2 at 13–14.
 9          In 2021, federal agents received information from an undisclosed source
10   claiming that Mr. DeBorba was an undocumented immigrant and had been arrested on
11   domestic violence charges. Dkt. No. 2 at 7. This source went on to claim that there were
12   videos of Mr. DeBorba engaged in sport-shooting on YouTube. See Dkt. No. 9 at 13–
13   14. Over half a year later, agents obtained a warrant and searched Mr. DeBorba’s home,
14   which he shared with roommates. See Dkt. No. 9 at 15–16. During the search, agents
15   found five firearms. See id.; Dkt. No. 9 at 1.
16          After initially charging him by complaint, the government Indicted Mr. DeBorba
17   on six felony charges. See Dkt. No. 9. Counts 1 and 2 charge Mr. DeBorba with
18   unlawful possession of firearms and ammunition on May 6, 2022, and November 16,
19   2019, respectively, while he was an undocumented immigrant and subject to a
20   restraining order, in violation of 18 U.S.C. § 922(g)(5) and (8). Count 3 charges Mr.
21   DeBorba with unlawful possession of a firearm while he was an undocumented
22   immigrant, in violation of 18 U.S.C. § 922(g)(5).
23          Counts 4 and 5 charge Mr. DeBorba with making false statements during the
24   purchase of a firearm on May 8, 2019, and April 4, 2019, respectively. More
25   specifically, each count alleges that the false statements Mr. DeBorba made were to
26   “falsely represent[] himself to be a citizen of the United States of America, and falsely

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 1   represent[] himself not to be an alien illegally or unlawfully in the United States, and
 2   falsely represent[] himself not to be an alien who has been admitted to the United States
 3   under a nonimmigrant visa.” Dkt. No. 9 at 3–4. Finally, Count 6 charges Mr. DeBorba
 4   with making a false claim to U.S. citizenship specifically by falsely representing
 5   himself to be a U.S. citizen “in a Concealed Pistol License Application to the
 6   Washington State Department of Licensing, an entity having good reason to inquire into
 7   the defendant’s citizenship.” Dkt. No. 9 at 4.
 8          This motion follows.
 9   II.    ARGUMENT
10          The Second Amendment protects the individual right to keep and bear arms both
11   in one’s home and when moving through the world. The core right protected is the right
12   to arm oneself for protection. In Counts 1, 2, and 3, the government charged Mr.
13   DeBorba with unlawfully possessing firearms and ammunition while being a noncitizen
14   without lawful immigrant status and while being subject to a domestic partner
15   restraining order under 18 U.S.C. § 922(g)(5) and (8) (respectively). These statutes
16   require complete disarmament of members of our community based on factors that are
17   not part of this country’s historical tradition of firearm regulation. Mr. DeBorba, a hard-
18   working father who has lived in this country for decades and has only misdemeanor
19   convictions, here stands charged criminally simply for possessing firearms and
20   ammunition. The statutes infringe the core right to arm oneself for self-defense for Mr.
21   DeBorba as well as for the estimated 10 or 11 million non-citizens without lawful
22
23
24
25
26

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 1   immigrant status 2 and the estimated thousands of people subject to restraining orders 3 at
 2   any given time. Counts 1, 2, and 3 must be dismissed as unconstitutional.
 3           Furthermore, the false statement counts each carry a materiality element that the
 4   Indictment fails to allege. The crime of false statement in the purchase of a firearm
 5   under § 922(a)(6), as charged in Counts 4 and 5, is only completed when the false
 6   statement is “with respect to any fact material to the lawfulness of the sale or other
 7   disposition of such firearm or ammunition under the provisions of this chapter[.]” 18
 8   U.S.C. § 922(a)(6). And in order to constitute a criminal false claim to U.S. citizenship
 9   under § 911, as charged in Count 6, the false claim must “be made to a person having
10   some right to inquire or adequate reason for ascertaining a defendant’s citizenship[.]”
11   United States v. Esparza-Ponce, 193 F.3d 1133, 1137–38 (9th Cir. 1999). In Counts 4,
12   5, and 6, the Indictment alleges that the false representations made by Mr. DeBorba
13   were that he was a U.S. citizen and not an undocumented immigrant. However, because
14   the State of Washington and the government could not lawfully prohibit gun sales, or
15   deny a concealed carry license, based on a person’s citizenship or immigration status,
16   the claims were not “material to the lawfulness of the sale” of firearms, 18 U.S.C. §
17   922(a)(6), or “made to a person having some right to inquire or adequate reason for
18
19
20
     2
       See Migration Policy Institute, Profile of the Unauthorized Population: United States,
     https://www.migrationpolicy.org/data/unauthorized-immigrant-population/state/US
21   (last accessed July 19, 2023); Abby Budiman, Key Findings About U.S. Immigrants,
     Pew Research Center (Aug. 20, 2020), https://www.pewresearch.org/short-
22
     reads/2020/08/20/key-findings-about-u-s-immigrants/.
23
     3
       In Washington state alone, 10,708 to 13,149 domestic violence protection orders were
24   filed each year from 2018 to 2021. See Admin. Office of Wash. Courts, Gender &
25   Justice Comm’n, Civil Protection Orders: E2SHB 1320 Stakeholder Group
     Recommendations to Support Access and Safety (Dec. 1, 2021), at 24,
26   https://www.courts.wa.gov/subsite/gjc/documents/1320_Report_to_legislature_12.1.21.
     pdf.
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 1   ascertaining [Mr. DeBorba’s] citizenship[.]” Esparza-Ponce, 193 F.3d at 1138.
 2   Therefore, Counts 4, 5, and 6 fail to allege a crime and must be dismissed.
 3            A.    The Court should find § 922(g)(5) and § 922(g)(8) unconstitutional
                    both facially and as applied.
 4
              Mr. DeBorba challenges the constitutionality of 18 U.S.C. § 922(g)(5) and (g)(8)
 5
     both facially and as applied. To hold the statutes facially unconstitutional, the Court
 6
     must find that “no set of circumstances exists under which the [statute] would be valid,”
 7
     Hotel & Motel Ass’n of Oakland v. City of Oakland, 344 F.3d 959, 971 (9th Cir. 2003)
 8
     (citing United States v. Salerno, 481 U.S. 739, 745 (1987)) (alteration in original). For a
 9
     facial challenge, the Court’s review is limited to the text of the statute itself. See
10
     Calvary Chapel Bible Fellowship v. County of Riverside, 948 F.3d 1172, 1177 (9th Cir.
11
     2020).
12
              Facial challenges are not disfavored when they neither pertain to “complex and
13
     comprehensive legislation” that may be constitutional in many instances, nor rest on
14
     speculation. See Jackson v. City & Cnty. of San Francisco, 746 F.3d 953, 962 (9th Cir.
15
     2014) (hearing a facial challenge to a restriction regarding the manner of firearm
16
     storage). If a facial challenge is sustained, then the statute “is void in toto[.]” Young v.
17
     Hawaii, 992 F.3d 765, 779 (9th Cir. 2021), cert. granted, judgment vacated, 142 S. Ct.
18
     2895, 213 L. Ed. 2d 1108 (2022), and abrogated on other grounds by New York State
19
     Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111, 213 L. Ed. 2d 387 (2022) (internal
20
     quotations omitted).
21
              By contrast, an as-applied constitutional challenge is “wholly fact dependent”
22
     and the Court’s review would include the facts and circumstances specific to the
23
     enforcement of the statute against Mr. DeBorba. See id. (internal quotations omitted).
24
     Mr. DeBorba here raises both types of challenges to § 922(g)(5) and § 922(g)(8).
25
26

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            B.     This Court must apply the test outlined in Bruen, which only allows
 1
                   regulations of the right to bear arms that are “consistent with this
 2                 Nation’s historical tradition of firearm regulation.”

 3          In New York State Rifle & Pistol Association, Inc. v. Bruen, 142 S. Ct. 2111

 4   (2022), the Supreme Court rewrote the test for determining whether a firearm law

 5   violates the Second Amendment. Previously, courts of appeals applying District of

 6   Columbia v. Heller, 554 U.S. 570 (2008), and McDonald v. City of Chicago, 561 U.S.

 7   742 (2010), had used a two-step test. First, courts asked whether the regulated conduct

 8   fell within the scope of the Second Amendment. If it did, then the burden shifted to the

 9   government in the second step, to establish whether the government’s interest in the

10   restriction outweighed the infringement on the individual. See United States v. Chovan,

11   735 F.3d 1127, 1134–37 (9th Cir. 2013), abrogated by Bruen, 142 S. Ct. 2111

12   (discussing cases).

13          Bruen got rid of the second step. It held that “a constitutional guarantee subject

14   to future judges’ assessments of its usefulness is no constitutional guarantee at all.” 142

15   S. Ct. at 2129 (internal quotations omitted). Now, for a law to survive a Second

16   Amendment challenge, the government must “identify an American tradition”

17   justifying the prohibition on the individual’s conduct under the first step. Id. at 2138. If

18   it cannot, courts may no longer apply a “means-end scrutiny” to uphold the law under

19   the second step. Id. at 2125, 2138. Instead, the inquiry ends, and the law is

20   unconstitutional.

21          As Bruen summarized, the “standard for applying the Second Amendment” now

22   requires courts to do the following:

23          - If the Second Amendment’s “plain text” covers an individual’s conduct,
            courts must presume the Constitution “protects that conduct”;
24          - To rebut this, the government must show that any restriction is “consistent
25          with the Nation’s historical tradition of firearm regulation”;
            - If the government cannot do so, the law is unconstitutional.
26

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 1   Id. at 2129–30 (internal quotations omitted). The Court held that it is the government’s
 2   burden to “affirmatively prove that its firearm regulation is part of the historical
 3   tradition that delimits the outer bounds of the right to keep and bear arms.” Id. at 2127.
 4   Because “constitutional rights are enshrined with the scope they were understood to
 5   have when the people adopted them,” this analysis is tethered to the historical tradition
 6   in place when “[t]he Second Amendment was adopted in 1791; [or when] the
 7   Fourteenth [Amendment was adopted] in 1868.” Id. at 2136.
 8          Bruen further provided guidance to courts in conducting the historical review
 9   required for step two of this analysis. Specifically, the Court noted that “not all history
10   is created equal.” Id. at 2136. Bruen emphasized the need to examine the history of
11   arms regulation at the time the Second Amendment was defined by its framers, id. at
12   2136–38, which the Ninth Circuit held was “close in time to 1791 (when the Second
13   Amendment was ratified) or 1868 (when the Fourteenth Amendment was ratified).”
14   Teter v. Lopez, No. 20-15948, 2023 WL 5008203, at *7 (9th Cir. Aug. 7, 2023) (citing
15   Bruen, 142 S. Ct. at 2136).
16          Furthermore, to determine whether a historical tradition of regulation is
17   sufficiently similar to the challenged modern one, courts “must look to the ‘how and
18   why” of the two regulations; that is, ‘whether modern and historical regulations impose
19   a comparable burden on the right of armed self-defense and whether that burden is
20   comparably justified are central considerations when engaging in an analogical
21   inquiry.’” Teter, No. 20-15948, 2023 WL 5008203, at *10 (quoting Bruen, 142 S. Ct, at
22   2132–33 (cleaned up by Teter) (emphasis added). And the Court required a heightened
23   level of similarity when the challenged regulation addresses a long-standing problem
24   that existed when the Second Amendment was enacted:
25          when a challenged regulation addresses a general societal problem that has
            persisted since the 18th century, the lack of a distinctly similar historical
26
            regulation addressing that problem is relevant evidence that the challenged

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            regulation is inconsistent with the Second Amendment. Likewise, if earlier
 1
            generations addressed the societal problem, but did so through materially
 2          different means, that also could be evidence that a modern regulation is
            unconstitutional.
 3
     Bruen, 142 S. Ct. at 2131; see also Teter, No. 20-15948, 2023 WL 5008203, at *12
 4
     (quoting same). The Court must apply these standards, set out by Bruen, when deciding
 5
     this motion.
 6
            C.      The right to possess and carry weapons for protection is not only
 7                  protected by the Second Amendment, but also at the Amendment’s
 8                  core.
            At the first step of the Bruen analysis, the Court must decide whether the
 9
     restricted conduct here is protected by the plain text of the Second Amendment. Here,
10
     the conduct is at the very core of the Second Amendment’s protection—the ability to
11
     keep and bear arms for personal protection or other lawful purposes (e.g. recreation).
12
            The Ninth Circuit recognized that the Supreme Court in Bruen took a purely
13
     textualist approach to this question:
14
15          “Applying the above standard, the first question in Bruen was “whether the
            plain text of the Second Amendment protects [the plaintiffs’] proposed
16          course of conduct—carrying handguns publicly for self-defense.” [] In
            answering it, Bruen analyzed only the “Second Amendment’s text,”
17          applying ordinary interpretive principles. [] Because the word “‘bear’
18          naturally encompasses public carry,” the Court concluded that the conduct
            at issue in Bruen (public carry) was protected by the plain text of the
19          Second Amendment. []”
20   Teter, No. 20-15948, 2023 WL 5008203, at *7 (quoting Bruen 142 S. Ct. at 2134–35,
21   2143) (internal citations omitted).
22          Here too, the conduct in question—possessing firearms—is plainly covered by
23   the Second Amendment’s text. The Court in Bruen maintained holdings from earlier
24   cases that the right to bear arms for self-defense is integral to the Second Amendment.
25   In Heller, the Court struck down the District of Columbia’s regulations banning
26   handgun possession in the home and held that the Second Amendment protects the right

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 1   to keep and bear arms in one’s home for the purpose of self-defense. Heller, 554 U.S. at
 2   635. In distinguishing the right to bear arms as independent from involvement in a
 3   militia, the Court explained that early “Americans valued the ancient right [and] most
 4   undoubtedly thought it even more important for self-defense and hunting.” Id. at 599.
 5   Justice Scalia, writing for the Heller majority, even went so far as to describe the
 6   dissent’s “assertion that individual self-defense is merely a ‘subsidiary interest’ of the
 7   right to keep and bear arms [as] profoundly mistaken.” Id.
 8          In McDonald, the Court struck down municipal ordinances similar to those in
 9   Heller and held “that the Due Process Clause of the Fourteenth Amendment
10   incorporates the Second Amendment right recognized in Heller.” McDonald, 561 U.S.
11   at 791. In doing so, the McDonald Court explained that after all, “[s]elf-defense is a
12   basic right, recognized by many legal systems from ancient times to the present day,
13   and in Heller, [the Court] held that individual self-defense is ‘the central component’ of
14   the Second Amendment right.” Id. at 767 (internal citation omitted) (emphasis in
15   original). Commenting on the importance of self-defense, the Court further explained
16   that if the safety of “members of the community would be enhanced by the possession
17   of handguns in the home for self-defense, then the Second Amendment right protects
18   the rights of minorities and other residents of high-crime areas whose needs are not
19   being met by elected public officials.” Id. at 790.
20          Writing in a concurrence in Bruen, Justice Alito continued this theme and
21   emphasized the importance of the individual’s right to self-defense being effectuated by
22   the right to bear arms, writing: “Some are members of groups whose members feel
23   especially vulnerable. And some of these people reasonably believe that unless they can
24   brandish or, if necessary, use a handgun in the case of attack, they may be murdered,
25   raped, or suffer some other serious injury.” 142 S. Ct. at 2158 (J. Alito, concurring).
26

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 1          Section 922(g) forbids precisely this conduct that the Second Amendment
 2   protects. The statute forbids any gun possession by certain categories or classes of
 3   individuals deemed prohibited persons. See generally 18 U.S.C. § 922(g). Thus the
 4   statute infringes on Second Amendment-protected activity.
 5          D.     Mr. DeBorba is part of “the People” protected by the Second
                   Amendment.
 6
            The government may argue that § 922(g)(5) and (8) do not infringe on Second
 7
     Amendment-protected conduct if the person restricted is not part of “the people” that
 8
     the Second Amendment protects. The Court should roundly reject such an argument.
 9
     First, the Court should join other Courts in holding that “the people” in the Second
10
     Amendment truly means “the people”—as both the plain text, and the meaning of that
11
     term in other Amendments of the Bill of Rights indicate. In other words, it refers to all
12
     people in the United States. Alternatively, even if the Court finds some limiting factor
13
     in the meaning of “the People,” Mr. DeBorba remains well within that definition.
14
15                 1.     “The people” protected by the Second Amendment are indeed
                          “the people[,]” not some nebulous or legislatively defined
16                        subset.
17          The argument Mr. DeBorba is not part of “the people” who have rights under the

18   Second Amendment is utterly unsupported by the “Second Amendment’s plain text[.]”

19   Bruen, 142 S. Ct. at 2129. Furthermore, persuasive authority indicates that Bruen meant

20   what it said—that “[w]hen the Second Amendment’s plain text covers an individual’s

21   conduct, the Constitution presumptively protects that conduct.” Id. at 2129–30. And

22   that dicta purporting to narrow the Second Amendment’s protection is not good law.

23          Of note, the Ninth Circuit has side-stepped this question after Bruen. In its two

24   substantive opinions following Bruen, the Court has declined to examine the parameters

25   of “the people” at Bruen step one, but rather has resolved those cases assuming that the

26   conduct in question is protected by the Second Amendment and proceeding to Bruen

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 1   step two. See Teter, No. 20-15948, 2023 WL 5008203, at *9 (n.9) (declining to
 2   examine who was covered by “the people” because the statute in question applied to all
 3   people and the litigants in question did not appear to belong to any excluded group of
 4   people); United States v. Alaniz, 69 F.4th 1124, 1129 (9th Cir. 2023) (assuming without
 5   deciding that Bruen step one was satisfied for Mr. Alaniz’s challenge to the
 6   Guidelines’s two-level enhancement for possession of a firearm during a drug
 7   trafficking felony).
 8          However, other courts have tackled the question head on. Both the Third Circuit
 9   sitting en banc and the Honorable District Judge Carlton W. Reeves have rejected the
10   prospect that “the people” protected by the Second Amendment may be narrowed. See
11   generally Range v. Att’y Gen. United States of Am., 69 F.4th 96 (3d Cir. 2023); United
12   States v. Bullock, No. 3:18-CR-165-CWR-FKB, 2023 WL 4232309 (S.D. Miss. June
13   28, 2023). Indeed, even prior to Bruen, now-Justice and then-Judge Amy Coney Barrett
14   reached the same conclusion while sitting on the Seventh Circuit Court of Appeals. See
15   Kanter v. Barr, 919 F.3d 437 (7th Cir. 2019), abrogated by Bruen, 142 S. Ct. 2111
16   (Barrett, J., dissenting).
17                          i.    References to “responsible” or “law-abiding citizens” in
                                  Heller, McDonald, and Bruen, were dicta that did not
18
                                  narrow the scope of “the people” protected by the
19                                Second Amendment.
20          The government has previously sought to narrow the scope of the Second

21   Amendment’s protection largely by relying on dicta in Heller, McDonald, and Bruen.

22   However, none of those cases involved litigants who were non-citizens or had

23   restraining orders against them or criminal records. Rather the phrase originated in

24   Heller in the majority’s response to Justice Stevens’s dissent. Specifically, Justice

25   Stevens cited to United States v. Miller, 307 U.S. 174 (1939) to argue that the Second

26   Amendment “protects the right to keep and bear arms for certain military purposes, but


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 1   that it does not curtail the Legislature’s power to regulate the nonmilitary use and
 2   ownership of weapons[.]” Heller, 554 U.S. 570, 637–38 (Stevens, J., dissenting). In
 3   response, the majority reasoned instead that Miller’s holding hinged on the nature of the
 4   weapon, not the person. Miller involved the interstate transfer of sawed-off shotguns—
 5   not regularly purchased guns that would commonly be used for lawful purposes. And
 6   the Heller majority explained: “We therefore read Miller to say only that the Second
 7   Amendment does not protect those weapons not typically possessed by law-abiding
 8   citizens for lawful purposes, such as short-barreled shotguns.” Heller, 554 U.S. at 625.
 9   Thus the origin of the phrase had nothing to do with whether certain people were
10   excluded from the Second Amendment’s protection, but rather whether certain weapons
11   were.
12           As the Third Circuit recognized, “Heller said more; it explained that ‘the people’
13   as used throughout the Constitution unambiguously refers to all members of the
14   political community, not an unspecified subset.’ [] So the Second Amendment right,
15   Heller said, presumptively ‘belongs to all Americans.’” Range, 69 F.4th at 101 (quoting
16   Heller 554 U.S. at 580, 581) (internal citations omitted). This language makes clear that
17   Heller did not narrow the Second Amendment’s reach to a narrow subset of society.
18           McDonald in turn spoke of “citizens” parroting some of the phrasing of the
19   Fourteenth Amendment—as the task in McDonald was to determine whether the
20   Fourteenth Amendment extended the Second Amendment’s protections against the
21   states. See generally McDonald, 561 U.S. 742. However its discussion of citizens
22   largely pertained to the use of that word in the Fourteenth Amendment and the
23   Fourteenth Amendment’s plain intent to ensure that oppressed minorities—namely the
24   African American “Freedmen”—had equal rights and were not disarmed. See id. at
25   773–77. And McDonald’s only reference to “law-abiding” people was a passing
26   description of a lawful use for guns. Namely the McDonald Court disputed the idea

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 1   “that the Second Amendment right does not protect minorities and those lacking
 2   political clout.” Id. at 789. The Court noted that Black Chicagoans subjected to the
 3   challenged law faced alarming homicide rates and were left largely unprotected by their
 4   government. So the Court reasoned: “If, as petitioners believe, their safety and the
 5   safety of other law-abiding members of the community would be enhanced by the
 6   possession of handguns in the home for self-defense, then the Second Amendment right
 7   protects the rights of minorities and other residents of high-crime areas whose needs are
 8   not being met by elected public officials.” Id. at 790. The petitioners in McDonald did
 9   not have criminal convictions, so the use of the descriptor by the McDonald majority
10   was most logically intended to emphasize the plight of the petitioners.
11          Finally, in Bruen, the Court repeated the phrase “law-abiding citizens” from
12   Heller, noting that just as people had the right to bear arms in their home for self-
13   defense, so too did they have the right to carry arms in public for self-defense. See
14   Bruen, 142 S. Ct. at 2122. Again, in Bruen, the petitioners were law-abiding citizens,
15   and the issue before the Court was not who could carry guns in public, but for what
16   purpose people could carry guns in public. See id. at 2122, 2125. The issue simply was
17   not before the Court. Id. at 2134 (“It is undisputed that petitioners Koch and Nash—two
18   ordinary, law-abiding, adult citizens—are part of ‘the people’ whom the Second
19   Amendment protects.”). Therefore, Bruen’s quotations and paraphrases of Heller and
20   McDonald referring to “law-abiding citizens” are merely dicta. Multiple jurists have
21   recognized these phrasings as descriptors not holdings. See Range, 69 F.4th at 101;
22   Bullock, No. 3:18-CR-165-CWR-FKB, 2023 WL 4232309, at *17–*19; see also United
23   States v. Meza-Rodriguez, 798 F.3d 664, 669 (7th Cir. 2015) (recognizing before Bruen
24   that the relevant phrase in Heller was dicta: “While some of Heller’s language does
25   link Second Amendment rights with the notions of ‘law-abiding citizens’ and ‘members
26   of the political community,’ see Heller, 554 U.S. at 580, 625 [], those passages did not

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 1   reflect an attempt to define the term ‘people.’ We are reluctant to place more weight on
 2   these passing references than the Court itself did.”).
 3                        ii.    In fact, the “plain text” of the Second Amendment, and
                                 tried and true methods of interpretation affirm that “the
 4
                                 people” includes all members of American society.
 5          Usual principles of interpretation indicate that “the people” protected by the
 6   Second Amendment should be read broadly. First and foremost, there is no reason to
 7   read “the people” in the Second Amendment to have different meaning than “the
 8   people” has elsewhere in the Constitution. See Range, 69 F.4th at 101–02 (noting no
 9   reason to adopt inconsistent readings of the “people” in the First, Fourth, and Second
10   amendments); Bullock, No. 3:18-CR-165-CWR-FKB, 2023 WL 4232309, at *20
11   (recognizing that “the people” covers the full national community). Even the Supreme
12   Court in Heller made clear that “the people” in the Second Amendment has the same
13   meaning as “the people” in the First and Fourth Amendments—that is the broader
14   “national community,” rather than “a subset of the Nation called the ‘political
15   community.’” Bullock, No. 3:18-CR-165-CWR-FKB, 2023 WL 4232309, at *20.
16   Indeed Heller itself tied its understanding of “the people” to the use of that term in
17   other Amendments in the Bill of Rights. See Heller, 554 U.S. at 580. The Court
18   recounted the historical use of “the people” as indicating “‘that ‘the people’ protected
19   by the Fourth Amendment, and by the First and Second Amendments, and to whom
20   rights and powers are reserved in the Ninth and Tenth Amendments, refers to a class of
21   persons who are part of a national community or who have otherwise developed
22   sufficient connection with this country to be considered part of that community.’” Id.
23   (quoting United States v. Verdugo–Urquidez, 494 U.S. 259, 265 (1990)).
24          Justice Coney Barrett, while she was a Judge on the Seventh Circuit Court of
25   Appeals, also illustrated the practical reasons to read “the people” in the Second
26   Amendment broadly:

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            There are competing ways of approaching the constitutionality of gun
 1
            dispossession laws. Some maintain that there are certain groups of
 2          people—for example, violent felons—who fall entirely outside the Second
            Amendment’s scope. . . . Others maintain that all people have the right to
 3          keep and bear arms but that history and tradition support Congress’s power
 4          to strip certain groups of that right. . . . In my view, the latter is the better
            way to approach the problem. It is one thing to say that certain weapons or
 5          activities fall outside the scope of the right. . . . It is another thing to say
            that certain people fall outside the Amendment’s scope. Arms and activities
 6          would always be in or out. But a person could be in one day and out the
 7          next: the moment he was convicted of a violent crime or suffered the onset
            of mental illness, his rights would be stripped as a self-executing
 8          consequence of his new status. No state action would be required.
            ...
 9          In addition to being analytically awkward, the “scope of the right” approach
10          is at odds with Heller itself. There, the Court interpreted the word “people”
            as referring to “all Americans.” 554 U.S. at 580–81, 128 S.Ct. 2783; see
11          also id. at 580, 128 S.Ct. 2783 (asserting that “the people” “refers to a class
            of persons who are part of a national community or who have otherwise
12
            developed sufficient connection with this country to be considered part of
13          that community” (citation omitted)). Neither felons nor the mentally ill are
            categorically excluded from our national community. That does not mean
14          that the government cannot prevent them from possessing guns. Instead, it
15          means that the question is whether the government has the power to disable
            the exercise of a right that they otherwise possess, rather than whether they
16          possess the right at all.
17   Kanter, 919 F.3d 437, 451–54 (7th Cir. 2019) (Barrett, J., dissenting) (internal citations

18   except Heller omitted); see also Range, 69 F.4th at 102 (affirming same).

19          Framing the question as whether or not a certain person is within “the people”

20   protected by the Second Amendment would leave many without recourse to challenge

21   the infringement of their constitutional rights. See Kanter, 919 F.3d at 452 (Barrett, J.

22   dissenting) (noting that a framing that limited who “the people” protected by the

23   Second Amendment were would leave many whose Second Amendment rights were

24   restricted without “standing to assert constitutional claims that other citizens could

25   assert.”). The Third Circuit en banc explained:

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            At root, the Government’s claim that only “law-abiding, responsible
 1
            citizens” are protected by the Second Amendment devolves authority to
 2          legislators to decide whom to exclude from “the people.” We reject that
            approach because such “extreme deference gives legislatures unreviewable
 3          power to manipulate the Second Amendment by choosing a label.” [] And
 4          that deference would contravene Heller’s reasoning that “the enshrinement
            of constitutional rights necessarily takes certain policy choices off the
 5          table.”
 6   Range, 69 F. 4th at 102–03 (internal citations omitted).

 7          The idea that Second Amendment rights are limited to “law-abiding, responsible

 8   citizens” raises additional constitutional problems. The Third Circuit en banc reasoned

 9   that the phrase “is as expansive as it is vague.” Range, 69 F.4th at 102. The Court

10   further noted that historical restrictions on gun possession by people convicted of

11   serious felonies was unmoored from today’s landscape of potential felony

12   convictions—indeed many modern felonies indicate no risk of dangerousness and are

13   not in a practical sense serious crimes at all. See id. (citing Lange v. California, 141 S.

14   Ct. 2011, 2020 (2021)). Judge Reeves agreed, additionally noting that “[t]he modifier

15   ‘responsible,’ [] is impossible to apply.” Bullock, No. 3:18-CR-165-CWR-FKB, 2023

16   WL 4232309, at *29. As such, it is clear that neither Mr. DeBorba’s misdemeanor

17   convictions nor the restraining orders removed him from “the people.”

18          Furthermore, “the people” was not limited to U.S. citizens. Heller’s reliance on

19   Verdugo-Urquidez, as well as common sense, affirms that “the people” in the Second

20   Amendment has the same meaning it does in the First and Fourth Amendments, among

21   other mentions in the Constitution. Namely, the “people” refers to “‘a class of persons

22   who are part of a national community or who have otherwise developed sufficient

23   connection with this country to be considered part of that community.’” Heller, 554

24   U.S. at 580 (quoting Verdugo-Urquidez, 494 U.S. at 265). The Court in Verdugo-

25   Urquidez ultimately held that “aliens receive constitutional protections when they have

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 1   come within the territory of the United States and developed substantial connections
 2   with this country.” 494 U.S. at 271.
 3          Indeed, even prior to Bruen, the Seventh Circuit has held that the Second
 4   Amendment protects undocumented immigrants to the same extent the Fourth
 5   Amendment does.
 6          In the post-Heller world, where it is now clear that the Second Amendment
            right to bear arms is no second-class entitlement, we see no principled way
 7
            to carve out the Second Amendment and say that the unauthorized (or
 8          maybe all noncitizens) are excluded. No language in the Amendment
            supports such a conclusion, nor, as we have said, does a broader
 9          consideration of the Bill of Rights.
10   United States v. Meza-Rodriguez, 798 F.3d 664, 672 (7th Cir. 2015).
11          This holding rested in tried and true methods of construction and interpretation.
12   Indeed, the First, Second, and Fourth Amendments, which were enacted together as part
13   of the Bill of Rights, employ identical use of the word “the people.” See id. at 670. This
14   was not lost on the courts. “Heller noted the similarities between the Second
15   Amendment and the First and Fourth Amendments, implying that the phrase ‘the
16   people’ (which occurs in all three) has the same meaning in all three provisions.” Id. at
17   669 (citing Heller, 554 U.S. at 592 (“[I]t has always been widely understood that the
18   Second Amendment, like the First and Fourth Amendments, codified a pre-existing
19   right.”)). Similarly, other portions of the Constitution make clear that the drafters knew
20   how to exclude non-citizens from certain privileges. See id. at 669 (“And such
21   provisions as Article I, section 2, paragraph 2, which limits membership in the House of
22   Representatives to persons who have been ‘seven Years a Citizen,’ and Article II,
23   section 1, paragraph 4, which requires the President to be ‘a natural born Citizen, or a
24   Citizen of the United States, at the time of the Adoption of this Constitution,’ show that
25   the drafters of the Constitution used the word ‘citizen’ when they wanted to do so.”)
26

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 1          It also makes little sense to read a citizenship requirement into the Second
 2   Amendment based on its plain text and history. If in 1791, the framers wanted to limit
 3   the protections of the Second Amendment to “citizens,” (even if that term had different
 4   parameters then than now) they could have substituted “citizens” for “the people.” See
 5   Verdugo–Urquidez, 494 U.S. at 265; see also Fitisemanu v. United States, 1 F.4th 862,
 6   867 (10th Cir. 2021) (cert. denied) (explaining that the Constitution utilized the term
 7   “citizen” repeatedly without necessarily defining the term). They did not. It makes even
 8   less sense now and would amount to taking a step backward in the march for greater
 9   equality under the law to replace “the people” with “citizens,” given the “racial
10   prejudice and xenophobic paranoia” that has historically justified race-based firearms
11   restrictions. See Pratheepan Gulasekaram, “the People” of the Second Amendment:
12   Citizenship and the Right to Bear Arms, 85 N.Y.U.L. Rev. 1521, 1543 (2010).
13          “The people” thus does not exclude non-citizens like Mr. DeBorba. Particularly,
14   it does not exclude non-citizens who are established members of the community. Mr.
15   DeBorba—who was physically within the United States and had lived in this country
16   for two decades, supporting his four U.S. citizen children, contributing to his
17   community, and active within civic institutions during that time, see Ex. A—plainly is
18   protected by the Second Amendment. The Court should hold that Mr. DeBorba is
19   within “the people” protected by the Second Amendment.
20                 2.     Even if the Court finds that “the people” protected by the
                          Second Amendment is narrowed to people who were not
21
                          historically disarmed, Mr. DeBorba is firmly within that
22                        group.
23          Even when courts that have engaged in a narrowing view of “the people[,]” such

24   view must be rooted in a historical and textual understanding of “the people,” rather

25   than a hodge podge interpretation of dicta. Under such a view, neither restraining orders

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 1   nor immigration status remove Mr. DeBorba from “the people” who have Second
 2   Amendment rights.
 3                         i.     Even under a narrowing view, a person subject to
                                  domestic partner restraining orders is not excluded
 4
                                  from “the people” protected by the Second Amendment.
 5           The Fifth Circuit, sitting en banc, rejected the government’s attempt to
 6   significantly narrow the meaning of “the people” in the Second Amendment to exclude
 7   people subject to certain restraining orders. In United States v. Rahimi, the government
 8   argued that references in Bruen and Heller to “law-abiding, responsible citizens” and
 9   “ordinary, law-abiding citizens” meant that a person subject to a domestic violence
10   restraining order is not part of “the people.” 61 F.4th 443, 451 (5th Cir. 2023) (en banc),
11   cert. granted, 143 S. Ct. 2688 (2023). The Fifth Circuit roundly rejected this contention,
12   noting its longstanding precedent that “the People” in the bill of rights—including in
13   the Second Amendment—“‘unambiguously refer[s] to all members of the political
14   community, not an unspecified subset.’” Id. (quoting Heller, 554 U.S. at 580).
15           Rather, the Fifth Circuit held that “Heller’s reference to ‘law-abiding,
16   responsible’ citizens meant to exclude from the Court’s discussion groups that have
17   historically been stripped of their Second Amendment rights, i.e., groups whose
18   disarmament the Founders ‘presumptively’ tolerated or would have tolerated.” Id. at
19   452 (internal citations omitted). 4 Namely, this phrase referred to the long-tolerated
20   restrictions on gun possession by people with felony convictions and serious mental
21   illness. Even though the Fifth Circuit accepted the idea that people who were
22   historically denied gun rights (people with certain felony convictions and mental
23   illnesses) were not part of “the people” protected by the Second Amendment, it
24
25
26   4
      Also reasoning Bruen’s reference to “ordinary, law-abiding” citizens had the same
     meaning.
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 1   nonetheless highlighted major flaws in the government’s argument that “the people”
 2   may be further limited:
 3          [T]he Government’s proffered interpretation of “law-abiding” admits to no
            true limiting principle. Under the Government’s reading, Congress could
 4
            remove “unordinary” or “irresponsible” or “non-law-abiding” people—
 5          however expediently defined—from the scope of the Second Amendment.
            Could speeders be stripped of their right to keep and bear arms? Political
 6          nonconformists? People who do not recycle or drive an electric vehicle?
 7          One easily gets the point: Neither Heller nor Bruen countenances such a
            malleable scope of the Second Amendment’s protections; to the contrary,
 8          the Supreme Court has made clear that “the Second Amendment right is
            exercised individually and belongs to all Americans,” Heller, 554 U.S. at
 9          581, 128 S.Ct. 2783.
10   Id. at 453. Nothing in § 922(g)(8) requires that a felony conviction or dangerous crime
11   underlie a qualifying protection order. Instead, the statute completely bars gun
12   possession by members of “the people.” The Fifth Circuit ultimately held that Mr.
13   Rahimi—the defendant—was part of “the people” protected by the Fifth Amendment.
14   See id. at 452 (noting that a protection order alone did not remove Mr. Rahimi from the
15   “political community” protected by the Second Amendment. “And, while he was
16   suspected of other criminal conduct at the time, Rahimi was not a convicted felon or
17   otherwise subject to another ‘longstanding prohibition[ ] on the possession of firearms’
18   that would have excluded him.”) (quoting Heller, 554 U.S. at 626–27) (emphasis in
19   original).
20                        ii.    Similarly, undocumented immigrants are also not
21                               excluded from “the people” with Second Amendment
                                 rights, even under a narrowing view.
22
            Similarly, the Ninth Circuit pre-Bruen declined to hold that undocumented
23
     immigrants were not part of “the people” that the Second Amendment protects. The
24
     Ninth Circuit wrestled with this question pre-Bruen in United States v. Torres, 911 F.3d
25
     1253 (9th Cir. 2019). In that case, the Ninth Circuit ultimately agreed with a prior
26
     ruling by the Tenth Circuit and decided the question was too large and complicated to

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 1   answer without a clear historical record, and assumed without deciding that
 2   undocumented immigrants indeed are included in “the people” that the Second
 3   Amendment protects. Id. at 1261.
 4          However, in answering the question, the Ninth Circuit affirmed its reliance on
 5   Verdugo-Urquidez and Heller for guidance. Id. at 1258–59. Thus the Ninth Circuit too
 6   tethered its analysis to Verdugo-Urquidez’s definition, quoted by Heller, that “the
 7   people” are those “‘[ (1) ] who are part of a national community or [ (2) ] who have
 8   otherwise developed sufficient connection with this country to be considered part of
 9   that community.’” Id. at 1259 (quoting Verdugo-Urquidez, 494 U.S. at 274–75)
10   (numeration added by Torres). The Ninth Circuit also recognized the likely dicta nature
11   of Heller’s “law-abiding, responsible citizens” phrase. See id. (quoting Heller, 554 U.S.
12   at 635). And noted Heller’s later holding “that ‘the people,’ as a term, ‘unambiguously
13   refers to all members of the political community, not an unspecified subset’” and direct
14   reliance on the Verdugo-Urquidez definition of “the people.” Id. (quoting Heller, 554
15   U.S. at 580).
16          The Ninth Circuit proceeded to reject multiple other circuits’ decisions that used
17   inconsistent reasoning to limit “the people” protected by the Second Amendment to not
18   include undocumented immigrants. See id. at 1259–60. Among these, the Ninth Circuit
19   criticized the Fifth Circuit’s decision in United States v. Portillo-Munoz, 643 F.3d 437
20   (5th Cir. 2011), a holding that the Eighth Circuit later adopted with little explanation,
21   see United States v. Flores, 663 F.3d 1022, 1023 (8th Cir. 2011). The Ninth Circuit
22   critiqued Portillo-Munoz’s explicit rejection of Verdugo-Urquidez by claiming that
23   “‘neither this court nor the Supreme Court has held that the Fourth Amendment extends
24   to a native and citizen of another nation who entered and remained in the United States
25   illegally.’” Torres, 911 F.3d at 1260 (quoting Portillo-Munoz, 643 F.3d at 440). And
26   the Ninth Circuit noted Potrillo-Munoz’s reliance on the dicta in Heller to limit the

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 1   Second Amendment’s protection to “‘members of the political community’
 2   ‘Americans,’ and “law-abiding responsible citizens.’” Id. (quoting Portillo-Munoz, 643
 3   F.3d at 440).
 4           The Ninth Circuit in Torres chose to assume without deciding that
 5   undocumented immigrants were part of “the people” protected by the Second
 6   Amendment because “the state of the law precludes us from reaching a definite answer”
 7   on this large and complicated question. See id. at 1261. Namely, at the time the Ninth
 8   Circuit was unsure how to resolve the arguably conflicting statements in Heller and
 9   how to apply the Verdugo-Urquidez definition. As detailed above, later jurisprudence
10   has helped clarify these questions. 5
11           After Bruen, the Eighth Circuit held that non-citizens were not part of “the
12   people” protected by the Second Amendment. See United States v. Sitladeen, 64 F.4th
13   978, 987 (8th Cir. 2023). However, in doing so, the Eighth Circuit did not answer the
14   question anew, but rather held that Bruen did not disturb its earlier jurisprudence on the
15   matter. See id. at 986–97. As such, it merely affirmed its earlier adoption in Flores of
16   the Fifth Circuit’s reasoning in Potrillo-Munoz. So Sitladeen does no more than affirm
17   a holding that the Ninth Circuit has already rejected.
18           The position that the Ninth Circuit embraced was that of the Tenth Circuit—to
19   assume that non-citizens were part of the people absent proof to the contrary. See
20   Torres, 911 F.3d at 1260 (citing United States v. Huitron-Guizar, 678 F.3d 1164 (10th
21   Cir. 2012)). The Tenth Circuit in Huitron-Guizar reasoned that some non-citizens
22   should be included in “the people,” but was unclear where to draw the line. As the
23   Tenth Circuit explained: “Verdugo–Urquidez teaches that ‘People’ is a word of broader
24
25
     5
      However, as noted above, the Ninth Circuit has yet to re-tackle the question, but rather
     has assumed without deciding that litigants in its two substantive post-Bruen decisions
26   were part of “the people” protected by the Second Amendment. See Teter, No. 20-
     15948, 2023 WL 5008203, at *9 (n.9); Alaniz, 69 F.4th at 1129.
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 1   content than ‘citizens,’ and of narrower content than ‘persons.’” Huitron-Guizar, 678
 2   F.3d at 1168 (internal citations omitted). However, Huitron-Guizar accepted the idea
 3   that some limitation to “the people” existed but lacked the historical evidence that
 4   would indicate which non-citizens may be excluded from “the people” protected by the
 5   Second Amendment. Id. at 11690. The Tenth Circuit raised important questions:
 6           We know, for instance, that the founders’ notion of citizenship was less
             rigid than ours, largely tied to the franchise, which itself was often based
 7
             on little more than a period of residence and being a male with some capital.
 8           2 Collected Works of James Wilson 839–43 (K. Hall & M. Hall eds. 2007).
             How, historically, has this country regulated weapon possession by
 9           foreigners? Are we to understand gun ownership as among the private
10           rights not generally denied aliens, like printing newspapers or tending a
             farm, or one of the rights tied to self-government, like voting and jury
11           service, largely limited to citizens? Is there a distinction between a
             “national” community (Verdugo–Urquidez) and a “political” one (Heller)?
12           Is it significant that McDonald [], declared the right “fundamental”?”
13   Id. at 1169 6 (full McDonald citation omitted). In the absence of such evidence, the
14   Tenth Circuit assumed non-citizens were part of “the people,” see id., and the Ninth
15   Circuit followed, see Torres, 911 F.3d at 1261. This approach—to assume that persons
16   are part of “the people” protected by the Second Amendment unless the government
17   proves otherwise, is now required by Bruen. See Teter, No. 20-15948, 2023 WL
18   5008203, at *7 (“the first question in Bruen was ‘whether the plain text of the Second
19   Amendment protects [] course of conduct’”) (quoting Bruen 142 S. Ct. at 2134–35,
20   2143) (internal citations omitted).
21
22
23   6
       In 1791, U.S. citizenship was only conferred to a “free white person” who had lived in
     the United States for two years and could prove that “he [was] a person of good
24   character.” An Act to Establish an [sic] Uniform Rule of Naturalization, ch. 3, § 1, 1
25   Stat. 103 (1790). Many classes of people were excluded from citizenship in 1791 that
     today’s modern standards of decency would deem appalling. Yet, aside from his race,
26   Mr. DeBorba satisfied the conduct that would have earned citizenship in 1791. See
     Ex. A.
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 1          Here, even if the Court finds that “the people” may exclude certain historically
 2   excluded groups such as “‘felons and the mentally ill,’” Rahimi, 61 F.4th at 452 (quoting
 3   Heller, 554 U.S. at 626–27), there is no evidence that non-citizens—particularly
 4   undocumented immigrants like Mr. DeBorba with deep and decades-long roots in the
 5   United States—were one of these groups. As such, the Court should follow the Ninth
 6   Circuit’s guidance and Bruen’s holding and find that Mr. DeBorba is part of “the
 7   people” protected by the Second Amendment.
 8          E.     The government cannot meet its burden to show that disarmament of
                   undocumented immigrants is consistent with the relevant historical
 9
                   tradition of gun regulation.
10          Applying Bruen’s step two, the government cannot show a history of “distinctly
11   similar historical regulation” addressing the question of immigrants’ access to weapons.
12   Bruen, 142 S. Ct. at 2131. Section § 922(g)(5) was enacted with the purpose general
13   crime control and promoting public safety. This is a long-standing societal problem that
14   existed in 1791 and 1868, so the government must demonstrate a “distinctly similar”
15   historical tradition of firearm regulation at those times to justify § 922(g)(5). See Bruen,
16   142 S. Ct. at 2136; Teter, No. 20-15948, 2023 WL 5008203, at *7.
17          In other cases, the government has introduced evidence of laws based in
18   xenophobia and racism that disarmed certain oppressed groups—including Native
19   Americans, African Americans, and Catholics. However, these are not close analogs for
20   the present-day § 922(g)(5) as they served a purpose (the “why”) of political
21   oppression, not crime control, and they do not account for the reconstruction-era history
22   that made clear that the right to bear arms for individual self-defense was fundamental,
23   especially to oppressed racial minorities. The government has also identified a small
24   number of statutes that disarmed certain people who refused to swear an oath of
25   allegiance. These too are not sufficiently analogous in their purpose, but also fail to
26   mirror § 922(g)(5) in their methods (the “how”)—namely, those statutes allowed people

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 1   to regain their firearms simply by swearing an oath, while § 922(g)(5) offers
 2   undocumented immigrants no such simple means to avoid the restriction.
 3                 1.     Section 922(g)(5) was enacted to solve a long-standing societal
                          problem—public safety and crime control—so may only be
 4
                          justified by a “distinctly similar” historical tradition of firearm
 5                        regulation.
 6          Notably, the statute challenged here is one of complete disarmament for large

 7   groups of people. In passing the Gun Control Act of 1968 (the “Act”), “Congress did

 8   not intend merely to restrict interstate sales but sought broadly to keep firearms away

 9   from the persons Congress classified as potentially irresponsible and dangerous.”

10   Barrett v. United States, 423 U.S. 212, 218 (1976). These prohibited persons were then

11   “comprehensively barred by the Act from acquiring firearms by any means.” Id. This

12   reflected the Act’s “broadly stated principal purpose [which] was ‘to make it possible to

13   keep firearms out of the hands of those not legally entitled to possess them because of

14   age, criminal background, or incompetency.’” Id. at 220 (quoting S.Rep.No. 1501, 90th

15   Cong., 2d Sess., 22 (1968)). Thus the purpose of the Act was crime control and public

16   safety—a perennial societal problem. See, e.g., Randolph Roth & Cornelia Hughes

17   Dayton, Homicide Among Adults in Colonial and Revolutionary New England, 1630-

18   1797, The Ohio State University, Criminal Justice Research Center, 2009,

19   https://cjrc.osu.edu/research/interdisciplinary/hvd/united-states/colonial-revolutionary-

20   new-england (compiling data regarding hundreds of homicides in early American

21   colonies leading up to and including the time the Second Amendment was enacted);

22   John D. Bessler, Foreword: The Death Penalty in Decline: From Colonial America to

23   the Present, 50 Crim. L. Bull. 245 (2014) (detailing a variety of crimes, criminal codes,

24   and punishments in U.S. colonies prior to enactment of the Second Amendment).

25          In 1986, Congress amended the Act to prohibit “aliens” unlawfully present in the

26   United States from possessing a firearm or ammunition. See § 922(g)(5); see also PL


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 1   99–308 (S 49), PL 99–308, May 19, 1986, 100 Stat 449. 18 U.S.C. § 922(g)(5) outlaws
 2   possession of firearms or ammunition for noncitizens who are “illegally or unlawfully
 3   in the United States[.]” This amendment was part of a larger bill, which one proponent
 4   described as “designed to relieve the Nation’s sportsmen and firearm owners from
 5   unnecessary burdens and to strengthen law enforcement.” 132 Cong. Rec. H1646-01,
 6   1986 WL 780589 (Apr. 9, 1986). The proponent noted many ways that the bill eased
 7   restrictions and certain record-keeping requirements on many gun owners and that it
 8   would not abandon the law’s law enforcement purpose and “strengthen[ed] the controls
 9   on selling firearms to criminals, mental incompetents, drug addicts, and illegal aliens.”
10   Id.; see also 131 Cong. Rec. S9101-05, 1985 WL 714011, 38 (July 9, 1985) (noting the
11   amendments would “strengthen provisions that prohibit certain classes of citizens from
12   owning, possessing, or selling firearms. Persons in that class include criminals,
13   adjudged mental incompetents, illegal aliens, dishonorably discharged military
14   personnel, and drug or alcohol abusers.”). Again, the purpose of ensuring that
15   undocumented immigrants were prohibited from possessing firearms was one of
16   general crime control. Congress clearly connected restrictions like that in section
17   922(g)(5) to public safety.
18          Indeed, the Ninth Circuit has previously agreed with the government that the
19   purpose of § 922(g)(5) is “crime control and public safety.” Torres, 911 F.3d at 1263.
20   This is “‘a general societal problem that has persisted since the 18th century,’” so “the
21   lack of a distinctly similar historical regulation addressing that problem is relevant
22   evidence that the challenged regulation is inconsistent with the Second Amendment.
23   Likewise, if earlier generations addressed the societal problem, but did so through
24   materially different means, that also could be evidence that a modern regulation is
25   unconstitutional.’” Teter, No. 20-15948, 2023 WL 5008203, at *12 (quoting Bruen, 142
26   S. Ct. at 2131).

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                   2.     Section 922(g)(5) is enforced categorically against a large class
 1
                          of people who cannot avoid its impact by declaring or
 2                        demonstrating their allegiance to the United States, or
                          otherwise being contributing members of society.
 3
            In practice, § 922(g)(5)’s restriction has been enforced with a broad scope,
 4
     defined in part by regulatory agencies. The Ninth Circuit has deferred to the Bureau of
 5
     Alcohol, Tobacco and Firearms (ATF)’s regulations to define who is “illegally or
 6
     unlawfully” in the country. See United States v. Latu, 479 F.3d 1153, 1158 (9th Cir.
 7
     2007). According to the ATF, this term covers noncitizens:
 8
            (a) Who unlawfully entered the United States without inspection and
 9          authorization by an immigration officer and who has not been paroled into
10          the United States under section 212(d)(5) of the Immigration and
            Nationality Act (INA);
11          (b) Who is a nonimmigrant and whose authorized period of stay has expired
            or who has violated the terms of the nonimmigrant category in which he or
12          she was admitted;
13          (c) Paroled under INA section 212(d)(5) whose authorized period of parole
            has expired or whose parole status has been terminated; or
14          (d) Under an order of deportation, exclusion, or removal, or under an order
            to depart the United States voluntarily, whether or not he or she has left the
15
            United States.
16   27 C.F.R. § 478.11. Indeed, the Ninth Circuit has held that a noncitizen is “illegally and
17   unlawfully” in the United States even if they have a pending application to adjust their
18   immigration status so long as no law prevents their removal or deportation. Latu, 479
19   F.3d at 1159. An individual’s “status as an alien ‘illegally or unlawfully in the United
20   States’ refers to a legal matter” on a “‘collateral” question of law.” Rehaif v. United
21   States, 139 S. Ct. 2191, 2198 (2019) (holding that “in a prosecution under 18 U.S.C. §
22   922(g) and § 924(a)(2), the Government must prove both that the defendant knew he
23   possessed a firearm and that he knew he belonged to the relevant category of persons
24   barred from possessing a firearm.”). In other words, it is complicated and unclear. Yet,
25   to this ever-shifting category of people, § 922(g)(5) applies an all-out prohibition of the
26   right to bear arms and the fundamental right of self-defense.

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 1           As demonstrated by Latu, even a non-citizen who has applied for immigration
 2   status, and in doing so has declared their commitment to the United States and its laws
 3   and values, is not spared from § 922(g)(5)’s reach. Similarly, no amount of positive
 4   employment in the community nor strong family ties spares a noncitizen from §
 5   922(g)(5)’s punishment. See United States v. Pierret-Mercedes, No.
 6   CV22CR430ADCBJM, 2023 WL 2957728, at *6 (D.P.R. Apr. 14, 2023). 7 And it
 7   matters not that undocumented immigrants are substantially less likely to commit
 8   crimes than U.S. citizens. See Alex Nowrasteh, Criminal Immigrants in Texas in 2019,
 9   Illegal Immigrant Conviction Rates and Arrest Rates for Homicide, Sex Crimes,
10   Larceny, and Other Crimes, CATO Institute (2021),
11   https://www.cato.org/sites/cato.org/files/2021-05/IRPB-19.pdf. Rather, the only way for
12   millions of members of our community, see supra n.1, to avoid this restriction of their
13   Second Amendment right is for them to find a lucky and rare pathway through the maze
14   of immigration law to attain lawful permanent resident status.
15                  3.     Despite prior opportunities to do so, the government has not
                           and cannot demonstrate a distinctly similar historical tradition
16
                           of denying undocumented immigrants their core Second
17                         Amendment rights.
18           Similar restrictions on gun possession for undocumented immigrants were not

19   prevalent at the time the Second Amendment was enacted nor when it was fully

20   realized at the enactment of the Fourteenth Amendment. Rather, this type of regulation

21
     7
       Notably, undocumented immigrants can lawfully own property, are required to pay
22
     taxes, see Francine J. Lipman, The Taxation of Undocumented Immigrants: Separate,
23   Unequal, and Without Representation, 9 Harv. Latino L. Rev. 2, 4-5 (2006), and are
     entitled to receive a public education, see Plyler v. Doe, 457 U.S. 202, 205, 210, 230
24   (1982) (holding that Texas law effectively denying public education to children who
25   were undocumented immigrants was unconstitutional, and reasoning that while
     undocumented immigrants and their children are not citizens of the United States or
26   Texas, they were people “in any ordinary sense of the term” and, therefore, were
     afforded Fourteenth Amendment protections.).
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 1   was largely enacted much later, in the early 20th century, and was driven by
 2   xenophobia and prejudice:
 3          Most alien gun restrictions were passed during an era of irrational fear and
            prejudice against immigrants, especially recently arrived Italians. State
 4
            legislatures enacted these types of gun laws within the first few decades of
 5          the twentieth century, when fear of foreign anarchists during the red-scare
            era, notions of immigrant mental deficiencies, and stereotypes of
 6          immigrants’ laziness and proclivity towards crime dominated the popular
 7          and political consciousness.
     Pratheepan Gulasekaram, Aliens with Guns: Equal Protection, Federal Power, and the
 8
     Second Amendment, 92 Iowa L. Rev. 891, 908–09 (2007) (internal citations omitted).
 9
            Such regulations are not instructive here. As the Court made clear in Bruen, “not
10
     all history is created equal. . . . The Second Amendment was adopted in 1791; the
11
     Fourteenth in 1868. Historical evidence that long predates either date may not
12
     illuminate the scope of the right if linguistic or legal conventions changed in the
13
     intervening years.” 142 S. Ct. at 2136; see also Teter, No. 20-15948, 2023 WL
14
     5008203, at *7 (citing same).
15
            Instead, the government has previously claimed that the 1700s laws of several
16
     colonies disarming enslaved African Americans and Native Americans now justify the
17
     disarmament of undocumented immigrants. See United States v. Jimenez-Shilon, 34
18
     F.4th 1042, 1047 (11th Cir. 2022). However, such laws would be intolerable today, and
19
     at the time of reconstruction (discussed below), and have nothing to do with the
20
     purported crime control purpose of today’s § 922(g). In Jimenez-Shilon, decided shortly
21
     before Bruen (so incorporating its historical analysis into the question of whether the
22
     Second Amendment protected the conduct), the government also pointed to a couple
23
     pre-enactment statutes that hinged gun ownership on an oath of loyalty or allegiance.
24
     See United States v. Jimenez-Shilon, Brief of the United States, 2021 WL 1207553
25
     (C.A.11), 12. However such disarmament of the disempowered political minority is
26

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 1   precisely the type of restriction the Second Amendment intended to prevent (“A well
 2   regulated Militia, being necessary to the security of a free State, the right of the people
 3   to keep and bear Arms, shall not be infringed.”). All of these examples fail in Bruen’s
 4   first prong of analysis for distinct similarity—they served different purposes than
 5   § 922(g)(5). Those laws aimed to oppress and prevent uprisings by racial or political
 6   minorities. While § 922(g)(5) was enacted for the purposes of general crime control.
 7          No historical regulation with the purpose of oppression can justify a current
 8   infringement of the Second Amendment. When the British Crown “began to disarm the
 9   inhabitants of the most rebellious areas[,]” the Americans (who were not citizens of the
10   United States but inhabitants in America) reacted by invoking their innate right to bear
11   arms. Heller, 554 U.S. at 594. Quoting a 1769 article, Heller recited the view of these
12   early noncitizen Americans: “[i]t is a natural right which the people have reserved to
13   themselves, confirmed by the Bill of Rights, to keep arms for their own defence.” Id.
14   (quoting A Journal of the Times: Mar. 17, New York Journal, Supp. 1, Apr. 13, 1769,
15   in Boston Under Military Rule 79 (O. Dickerson ed.1936) (reprinted 1970)).
16          After Bruen, the government has repeatedly relied on Jimenez-Shilon, and its
17   pre-Bruen arguments regarding who was protected by the Second Amendment to claim
18   that it has demonstrated a sufficient historical tradition of firearm regulation to justify
19   § 922(g)(5). The government has continued to rely on evidence of limited statutes
20   disarming people based on race, enslavement, and religion; and others based on refusal
21   to take an oath of allegiance. And the District Courts considering this argument have
22   obliged. See, e.g., United States v. Carbajal-Flores, No. 20-CR-00613, 2022 WL
23   17752395, at *3 (N.D. Ill. Dec. 19, 2022); United States v. DaSilva, No. 3:21-CR-267,
24   2022 WL 17242870, at *10 (M.D. Pa. Nov. 23, 2022); United States v. Trinidad-Nova,
25   No. CR 22-419 (FAB), 2023 WL 3071412, at *5 (D.P.R. Apr. 25, 2023); United States
26   v. Vizcaino-Peguero, No. CR 22-168 (FAB), 2023 WL 3194522, at *4 (D.P.R. Apr. 28,

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 1   2023); United States v. Pineda-Guevara, No. 5:23-CR-2-DCB-LGI, 2023 WL 4943609,
 2   at *6 (S.D. Miss. Aug. 2, 2023); United States v. Andrade-Hernandez, No. 3:23-CR-26-
 3   DCB-LGI, 2023 WL 4831408, at *6 (S.D. Miss. July 27, 2023); 8 United States v.
 4   Leveille, No. 1:18-CR-02945-WJ, 2023 WL 2386266, at *3–4 (D.N.M. Mar. 7, 2023);
 5   United States v. Escobar-Temal, No. 3:22-CR-00393, 2023 WL 4112762, at *4 (M.D.
 6   Tenn. June 21, 2023); Pierret-Mercedes, No. CV22CR430ADCBJM, 2023 WL
 7   2957728, at *6.
 8           Those District Courts that have independently engaged these supposed historical
 9   analogues have raised significant concerns about the discriminatory purposes of many
10   of these historical statutes, and the related potential discriminatory impact of §
11   922(g)(5) today. For example, the District Court in Escobar-Temal, held that bans on
12   gun ownership by Native Americans
13           are not, under Bruen, analogous to bans on ownership by unlawfully
             present aliens. The colonial bans were race-based. Though they may have
14
             been partially motivated by the fact that Native Americans were not
15           typically allowed to participate in the militia, it is notable that these laws
             did not broadly prohibit firearm ownership by immigrants generally;
16           instead, they targeted a specific race. Furthermore, though such laws
17           existed near the time of the Founding, they indisputably would be
             unconstitutional today under the Equal Protection Clause. Any law that,
18           like bans on Native American gun ownership, targeted members of a
             specific race would be similarly constitutionally suspect.
19
20
21
     8
       The District Courts’ historical analysis in Pineda-Guevara and Andrade-Hernandez
22
     was both very brief and dicta, because the Court disposed of those motions by finding
23   that undocumented immigrants were not part of “the people” protected by the Second
     Amendment (at Bruen step one) in reliance on Sitladeen, 64 F.4th 978, and Portillo-
24   Munoz, 643 F.3d 437. The Court in United States v. D’Luna-Mendez, No. SA-22-CR-
25   00367-OLG, 2023 WL 4535718, at *4 (W.D. Tex. July 13, 2023), report and
     recommendation adopted, No. SA22CR00367OLGESC, 2023 WL 4879837 (W.D. Tex.
26   July 28, 2023) engaged in no further historical analysis, instead relying on Sitladeen
     and Portillo-Munoz alone to deny the Motion to Dismiss.
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 1   No. 3:22-CR-00393, 2023 WL 4112762, at *4 (additionally holding “The ‘Act for
 2   disarming Papists’ is also inapt and constitutionally suspect (this time, under the Free
 3   Exercise Clause)”). Rather, these courts upheld § 922(g)(5) was rationally similar (not
 4   distinctly similar) to statutes requiring oaths of allegiance in order to possess guns close
 5   in time to the enactment of the Second Amendment. See Escobar-Temal, No. 3:22-CR-
 6   00393, 2023 WL 4112762, at *5; Pierret-Mercedes, No. CV22CR430ADCBJM, 2023
 7   WL 2957728, at *5; Levielle, No. 1:18-CR-02945-WJ, 2023 WL 2386266, at *2–4.
 8          The District Court in Levielle specifically held that the government’s proffered
 9   examples were not “distinctly similar” to § 922(g)(5) but went on to apply Bruen’s
10   lower “relevantly similar” standard, reasoning that § 922(g)(5) addressed a modern
11   problem because the modern system of U.S. immigration law did not exist at the time
12   the Second Amendment was enacted. The Levielle Court held that statutes restricting
13   gun ownership by people who refused to take oaths of allegiance were sufficiently
14   similar to § 922(g)(5) to allow the statute to stand. See No. 1:18-CR-02945-WJ, 2023
15   WL 2386266, at *2–4. Nonetheless, the Court there noted the unfairness in its decision:
16          controversy abounds over noncitizens brought here without authorization
            as infants, who have only known a home in this nation, and who
17
            nonetheless frequently face difficulties in attaining lawful citizenship
18          despite clear loyalty to the United States. There are many others who would
            gladly take the opportunity to become Americans if a pathway to legitimate
19          residency or citizenship existed for them. Alternatively, there are natural-
20          born citizens, national “insiders,” who feel no loyalty to their nation and
            wish it as much harm as any foreign terrorist might. But at its base, the
21          current immigration laws are the imperfect system the United States has set
            up as a proxy for national allegiance. A history of laws restricting firearm
22          ownership for individuals who refuse to swear allegiance to the United
23          States is analogous to laws directed at undocumented immigrants—not
            perfectly so, because many undocumented immigrants do not so much
24          refuse as lack any legitimate opportunity to swear such an oath, but
            analogous nonetheless.
25
26

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 1   Id. at 3–4. Despite these serious concerns, none of these courts have engaged in analysis
 2   of the understanding of the Second Amendment close in time to “the Fourteenth
 3   Amendment’s adoption in 1868.” Teter, No. 20-15948, 2023 WL 5008203, at *10.
 4           As discussed above, this Court should not apply the lowered “rationally similar”
 5   standard relied upon by these other District Courts. These courts relied on the lowered
 6   standard because they found that the nature of regulation of immigration was
 7   substantially different now than it was at the time the Second Amendment was enacted.
 8   See, e.g., Levielle, No. 1:18-CR-02945-WJ, 2023 WL 2386266, at *2–4; Pierret-
 9   Mercedes, No. CV22CR430ADCBJM, 2023 WL 2957728, at *5. But there is no
10   evidence that immigration or migration did not exist at the time of the Second
11   Amendment’s enactment. To the contrary—many prominent figures during that time,
12   including people involved in ratifying the Constitution, were immigrants. 9 More to the
13   point, § 922(g)(5) was not enacted in order to deal with a problem of immigration.
14   Rather the “why” of § 922(g)(5) is “crime control and public safety.” Torres, 911 F.3d
15   at 1263. This is “‘a general societal problem that has persisted since the 18th century,’”
16   and the government may only justify § 922(g)(5)’s restriction on the Second
17   Amendment with proof of a “distinctly similar historical regulation addressing that
18   problem.’” Teter, No. 20-15948, 2023 WL 5008203, at *12 (quoting Bruen, 142 S. Ct.
19   at 2131).
20           Furthermore, the Court should additionally find that the restrictions on firearms
21   possession based on a person’s refusal to take an oath of allegiance do not employ a
22   similar means as § 922(g)(5). As discussed above and recognize by the Court in
23
     9
      See Marie Basile McDaniel, Immigration and Migration (Colonial Era), Encyclopedia
24   of Greater Philadelphia (Rutgers University, 2014),
25   https://philadelphiaencyclopedia.org/essays/immigration-and-migration-colonial-era/;
     ConstitutionFacts.com, About the Signers of the Articles of Confederation,
26   https://www.constitutionfacts.com/us-articles-of-confederation/about-the-signers/ (last
     visited May 22, 2023).
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 1   Levielle, people banned from possessing firearms due to refusal to swear allegiance,
 2   could regain their right to bear arms simply by taking the required oath. But most
 3   undocumented immigrants like Mr. DeBorba have no such option. See 18-CR-02945-
 4   WJ, 2023 WL 2386266, at *2–4; Ex. A. This difference renders the regulations
 5   significantly dissimilar. Cf. United States v. Rahimi, 61 F.4th 443, 459–60 (5th Cir.
 6   2023) (holding that a regulation that allowed people to regain firearms by paying a
 7   surety bond was not sufficiently similar in means to § 922(g)’s total disarmament,
 8   discussed below).
 9                 4.     The government cannot demonstrate, and no court has found,
                          that § 922(g)(5) comports with historical tradition of firearm
10
                          regulation at the time of the enactment of the Fourteenth
11                        Amendment.
12          As the Ninth Circuit recognized, poorly tailored historical analogues do not help

13   in the Bruen analysis. Regulations not close to two important periods do not

14   demonstrate the relevant historical tradition of firearm regulation. See Teter, No. 20-

15   15948, 2023 WL 5008203, at *10. Rather, two narrow periods are especially relevant—

16   the periods “close in time to the Second Amendment’s adoption in 1791 or the

17   Fourteenth Amendment’s adoption in 1868.” Id. This is because the Fourteenth

18   Amendment explicitly rejected the discriminatory motives and means used by early

19   colonists and the English to deny others their constitutional rights, including their

20   Second Amendment rights. See U.S. Const. amend. XIV.

21          The Supreme Court in McDonald made clear that the framers of the Fourteenth

22   Amendment specifically intended to secure the right to bear arms for oppressed

23   minorities who had been unfairly stripped of this right in the past. The Court

24   summarized some of the horrors that African Americans endured in the wake of the

25   Civil War that led to the passage of the Fourteenth Amendment:

26

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            Throughout the South, armed parties, often consisting of ex-Confederate
 1
            soldiers serving in the state militias, forcibly took firearms from newly
 2          freed slaves. In the first session of the 39th Congress, Senator Henry
            Wilson told his colleagues: “In Mississippi rebel State forces, men who
 3          were in the rebel armies, are traversing the State, visiting the freedmen,
 4          disarming them, perpetrating murders and outrages upon them; and the
            same things are done in other sections of the country.” 39th Cong. Globe
 5          40 (1865). The Report of the Joint Committee on Reconstruction—which
            was widely reprinted in the press and distributed by Members of the 39th
 6          Congress to their constituents shortly after Congress approved the
 7          Fourteenth Amendment—contained numerous examples of such abuses.
            See, e.g., H.R.Rep. No. 30, 39th Cong., 1st Sess., pt. 2, pp. 219, 229, 272,
 8          pt. 3, pp. 46, 140, pt. 4, pp. 49–50 (1866); see also S. Exec. Doc. No. 2,
            39th Cong., 1st Sess., 23–24, 26, 36 (1865). In one town, the “marshal
 9          [took] all arms from returned colored soldiers, and [was] very prompt in
10          shooting the blacks whenever an opportunity occur[red].” H.R. Exec. Doc.
            No. 70, at 238 (internal quotation marks omitted). As Senator Wilson put
11          it during the debate on a failed proposal to disband Southern militias:
            “There is one unbroken chain of testimony from all people that are loyal to
12
            this country, that the greatest outrages are perpetrated by armed men who
13          go up and down the country searching houses, disarming people,
            committing outrages of every kind and description.” 39th Cong. Globe 915
14          (1866).
15   McDonald, 561 U.S. at 772. The Court noted that Congress’s efforts to secure the rights
16   of African Americans to bear arms through legislation failed to stop such terror, leading
17   Congress to adopt the Fourteenth Amendment. Id. at 773–74. And “[e]vidence from the
18   period immediately following the ratification of the Fourteenth Amendment only
19   confirms that the right to keep and bear arms was considered fundamental.” Id. at 776
20   (reciting commentary regarding the Amendment’s purpose: “‘Disarm a community and
21   you rob them of the means of defending life. Take away their weapons of defense and
22   you take away the inalienable right of defending liberty.’”) (quoting an 1868 speech by
23   Representative Stevens).
24          Early white colonialists certainly furthered patently discriminatory regulations
25   that specifically disempowered others based on race, religion, and gender. Bruen
26   certainly did not mean to imply that discrimination that existed in 1791 should be

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 1   carried into the analysis of the constitutionality of laws that exist today that prohibit a
 2   class of people from possessing firearms. But, as McDonald noted, the intent of the
 3   framers of the Fourteenth Amendment was plainly to guarantee the individual
 4   fundamental right secured by the Second Amendment, particularly for oppressed
 5   minorities. Indeed, “courts should not ‘uphold every modern law that remotely
 6   resembles a historical analogue,’ because doing so ‘risk[s] endorsing outliers that our
 7   ancestors would never have accepted.’” Bruen, 142 S. Ct. at 2133 (quoting Drummond
 8   v. Robinson, 9 F.4th 217, 226 (3rd Cir. 2021)). Such is the case here.
 9            Undocumented immigrants face oppression and violence that relates to that
10   faced by African Americans during reconstruction. As reflected throughout history,
11   noncitizens require self-defense just as much, if not more, than citizens. Today,
12   immigration advocates cite fear of deportation as one of the reasons people are not
13   coming forward to report crimes. See Prevention of Anti-Immigrant Violence Act of
14   2021, H.R. 2536, 117th Cong. § 2. Nonetheless, in the last two years the number of
15   violent hate crimes against immigrants and perceived foreigners has increased
16   dramatically. 10 If the Second Amendment “is neither shackled to state defense nor to
17   arms bearing in a military-related sense but is instead animated by concerns over armed
18   self-protection, then robbing the most vulnerable in our society of that right makes little
19   sense.” Pratheepan Gulasekaram, “The People” of the Second Amendment: Citizenship
20   and the Right to Bear Arms, 85 N.Y.U.L. Rev. 1521, 1577 (2010). After all, “[s]ome
21   are members of groups whose members feel especially vulnerable. And some of these
22   people reasonably believe that unless they can brandish or, if necessary, use a handgun
23
     10
        See Cal. State Univ. San Bernardino, C. for the Study of Hate & Extremism, Fact
24   Sheet, Anti-Asian Prejudice March 2021,
25   https://www.csusb.edu/sites/default/files/FACT%20SHEET-%20Anti-
     Asian%20Hate%202020%20rev%203.21.21.pdf (reporting that Anti-Asian hate crime
26   in 16 of America’s largest cities increased 145% in 2021, while overall hate crime
     dropped 6%).
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 1   in the case of attack, they may be murdered, raped, or suffer some other serious injury.”
 2   Bruen, 142 S. Ct. at 2158 (Alito, J., concurring).
 3          The historical record – which prioritizes self-defense – provides no support for
 4   denying undocumented immigrants Second Amendment rights. To the contrary, the
 5   historical record surrounding the adoption of the Fourteenth Amendment supports
 6   protection of the Second Amendment right to bear arms for vulnerable non-citizens.
 7   Because the government has not and cannot meet its burden to demonstrate a distinctly
 8   similar historical tradition of firearm regulation as § 922(g)(5), the Court should hold
 9   that § 922(g)(5) is unconstitutional.
10          F.     The government cannot meet its burden to show that disarmament of
                   people subject to restraining orders is consistent with the relevant
11
                   historical tradition of gun regulation.
12          The historical record is devoid of regulations that are sufficiently similar to that
13   contained in § 922(g)(8). This statute similarly addresses the long-standing societal
14   problem of general crime control, with a focus on another long-standing societal
15   problem—domestic violence. So the government must demonstrate a “distinctly
16   similar” historical tradition of firearm regulation to justify § 922(g)(8). It cannot do so.
17   First, the cited historical analogues address general danger or community violence, not
18   specifically domestic violence—as does § 922(g)(8). Second, while § 922(g)(8)
19   requires complete disarmament on the basis of a restraining order not tied to a felony
20   conviction, supposed historical analogues either required felony convictions or allowed
21   those impacted to regain their right to possess firearms with relative ease.
22
                   1.      Section 922(g)(8) addresses the long-standing problem of
23                         domestic violence, so the government must show a “distinctly
                           similar” historical tradition of regulation.
24
            When the challenged regulation addresses a “general societal problem that has
25
     persisted since the 18th century, the lack of a distinctly similar historical regulation
26
     addressing that problem is relevant evidence that the challenged regulation is
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 1   inconsistent with the Second Amendment.” Bruen, 142 S. Ct. at 2131. Moreover, “if
 2   earlier generations addressed the societal problem, but did so through materially
 3   different means, that also could be evidence that a modern regulation is
 4   unconstitutional.” Id.
 5          Much like § 922(g)(5), so too § 922(g)(8) was enacted to address a longstanding
 6   societal ill. People subject to certain restraining orders were added to § 922(g)’s
 7   disarmament regime in 1996, with the passage of the Lautenberg Amendment to the
 8   Gun Control Act of 1968. Pub.L. No. 104–208, § 658, 110 Stat. 3009, 3009–371
 9   (1996); United States v. Carr, 513 F.3d 1164, 1168 (9th Cir. 2008). And Congress’s
10   purpose in enacting this Amendment (which added both § 922(g)(8) and § 922(g)(9)—
11   disarming people convicted of domestic violence misdemeanors) was “to prevent
12   domestic gun violence[.]” Chovan, 735 F.3d at 1139–40; see also United States v.
13   Rahimi, 61 F.4th 443, 455 (5th Cir.), cert. granted, 143 S. Ct. 2688 (2023) (holding that
14   § 922(g)(8)’s purpose is to prevent “domestic gun abuse.”).
15          Unfortunately, domestic violence is a problem that has plagued this country
16   since its inception. See, e.g., University of Pittsburgh, School of Social Work,
17   Pennsylvania Child Welfare Resource Center, 310: Domestic Violence Issues: An
18   Introduction for Child Welfare Professionals, Domestic Violence Timeline, available at
19   http://www.pacwrc.pitt.edu/Curriculum/310DomesticViolenceIssuesAnIntroductionfor
20   ChildWelfareProfessionals/Handouts/HO3DomesticViolenceTimeline.pdf (last visited
21   Aug. 29, 2023). Thus, the government must demonstrate “distinctly similar” analogues
22   to § 922(g)(8). Bruen, 142 S. Ct. at 2131.
23                 2.     Section 922(g)(8) uses complete disarmament based on
                          evidence other than a felony conviction to address the problem
24
                          of domestic violence.
25          The prohibition on possessing a gun while subject to a protective order contained
26   in § 922(g)(8) is quite broad. The statute provides for the complete disarmament of

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 1   anyone who “is subject to a court order that restrains such person from harassing,
 2   stalking, or threatening an intimate partner of such person or child of such intimate
 3   partner or person, or engaging in other conduct that would place an intimate partner in
 4   reasonable fear of bodily injury to the partner or child[.]” 18 U.S.C. § 922(g)(8). The
 5   statute narrows the types of orders that may deny someone their Second Amendment
 6   rights only to require that the order comport with basic due process requirements and be
 7   based on a judicial finding that the person presents a risk of danger or explicitly
 8   prohibits the restrained person from threatening or assaulting the protected person(s).
 9   Id. The Fifth Circuit explained:
10          Distilled to its essence, the provision operates to deprive an individual of
            his right to possess (i.e., “to keep”) firearms once a court enters an order,
11
            after notice and a hearing, that restrains the individual “from harassing,
12          stalking, or threatening an intimate partner” or the partner’s child. The
            order can rest on a specific finding that the restrained individual poses a
13          “credible threat” to an intimate partner or her child. Or it may simply
14          include a general prohibition on the use, attempted use, or threatened use
            of physical force reasonably expected to cause bodily injury. The covered
15          individual forfeits his Second Amendment right for the duration of the
            court’s order. This is so even when the individual has not been criminally
16          convicted or accused of any offense and when the underlying proceeding
17          is merely civil in nature.

18   Rahimi, 61 F.4th at 455.

19                 3.     The government has not and cannot show a distinctly similar
                          historical tradition of firearm regulation.
20
            The Fifth Circuit held that § 922(g)(8) statute was unconstitutional, even under
21
     the relaxed “relevantly similar[.]” Id. at 455. Although the Fifth Circuit, sitting en banc
22
     did not dissect whether § 922(g)(8) addresses a “general societal problem that has
23
     persisted since the 18th century,” Bruen, 142 S. Ct. at 2131, such analysis was
24
     unnecessary to reach its holding. This is so because the government’s proffered
25
     historical analogues did not meet even the relaxed standard.
26

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 1            Specifically, the Fifth Circuit rejected three general types of historical analogues
 2   proposed by the government—namely, (1) certain laws providing for disarmament of
 3   “dangerous” people, (2) “going armed” laws, and (3) some “surety laws”—proffered by
 4   the government as substantially similar to § 922(g)(8). See id. at 456.
 5            First, the Fifth Circuit examined the historical record and concluded that laws
 6   disarming “dangerous” people were really targeted at people viewed as “disloyal” to the
 7   government, not at people who might pose a threat of domestic gun use to a family
 8   member. Id. at 456–57. Therefore, such analogues did not have a sufficiently similar
 9   “why” as § 922(g)(8).
10            Second, the Fifth Circuit held that “going armed” 11 laws did not represent a
11   similar historic tradition because they only required forfeiture of firearms after a
12   criminal conviction under the law, they quickly dropped forfeiture of firearms as a
13   consequence, they were adopted by a small minority of colonies, and they were aimed
14   at people engaged in terrorism, not violence within their own families. Id. at 457–59.
15   These laws lacked both a similar “why” and a similar “how” to § 922(g)(8).
16            Third, “surety” laws, which allowed a civilian to request a surety on a person on
17   a credible showing that person would commit a dangerous crime, were also dissimilar
18   because they did not require total disarmament of the person. Rather such, laws allowed
19   the person suspected to avoid any limitation on possessing guns by simply posting a
20   surety. Or, without posting a surety, the person suspected would only be prevented from
21   carrying a gun in public unless they had a special need to do so. See id. at 459–60.
22   These laws arguably lacked a similar “why” to § 922(g)(8). And surely lacked a similar
23   “how” to § 922(g)(8).
24
25
26   11
       These laws essentially criminalized certain rioting or terroristic behavior while
     armed.
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 1          The Fifth Circuit correctly held that the government failed to make the required
 2   showing under Bruen. In the absence of a historical tradition of distinctly similar (or
 3   even relevantly similar) historical regulation, § 922(g)(8) violates the Second
 4   Amendment and is unconstitutional.
 5          G.     Any uncertainty or absence of evidence related to the historical
                   record should be resolved in Mr. DeBorba’s favor.
 6
            Bruen made clear that the government carries the burden to “affirmatively prove
 7
     that its firearm regulation is part of the historical tradition that delimits the outer bounds
 8
     of the right to keep and bear arms.” Bruen, 142 S. Ct. at 2127. The Court further noted
 9
     that Judges “are not obliged to sift the historical materials for evidence to sustain [a
10
     challenged] statute, . . . That is [the government’s] burden.” Id. at 2150.
11
            Thus, to the extent the Court has any questions or lacks sufficient historical
12
     information to fully answer Bruen’s test, it must hold the challenged statutes
13
     unconstitutional and dismiss the Indictment. When the government failed to present
14
     record evidence in the form of expert testimony or similar regarding any claimed
15
     historical analogs to § 922(g)(1), Honorable Judge Reeves correctly held the dearth of
16
     information against “the party with the burden to prove history and tradition” and
17
     dismissed the challenged charge. See Bullock, No. 3:18-CR-165-CWR-FKB, 2023 WL
18
     4232309, at *15–16. So too here, any questions about the historical record must be held
19
     against the government.
20
21          H.     The Court should dismiss Counts 1, 2, and 3 of the Indictment as
                   facially unconstitutional, or unconstitutional as applied.
22
            The Court should dismiss Counts 1, 2, and 3 of the Indictment as
23
     unconstitutional. As detailed above, Mr. DeBorba has demonstrated that the relevant
24
     statutes—§ 922(g)(5) and § 922(g)(8)—facially violate the Second Amendment. Each
25   infringes on the core Second Amendment right of members of the community to
26

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 1   possess and bear arms for personal protection, and neither is justified by a sufficient
 2   historical analogue.
 3          Furthermore, these statutes are unconstitutional as applied to Mr. DeBorba. As
 4   detailed above, Mr. DeBorba has lived in the United States for the majority of his adult
 5   life—approximately two decades. He is the father of four U.S. citizen children and has
 6   worked tirelessly for years to support them. Furthermore, he engaged in important civic
 7   institutions, including his church. See Ex. A. He has never been convicted of a felony
 8   and for years had no contact with law enforcement whatsoever. He was ultimately
 9   subjected to restraining orders arising in two misdemeanor cases while he and his ex-
10   wife were separating. See Dkt. Nos. 2, 9. Mr. DeBorba is a loyal member of the
11   community. See Ex. A.
12          These facts and circumstances place Mr. DeBorba firmly within the people
13   protected by the Second Amendment, and do not place him in any category for which
14   there is a sufficiently similar historical tradition of firearms restriction to allow his
15   present disarmament. Therefore, even if this Court declines to find that these statutes
16   are facially unconstitutional, it should find they are unconstitutional as applied to Mr.
17   DeBorba.
18          I.     The Court should dismiss Counts 4, 5, and 6 because they fail to
                   allege crimes as citizenship and immigration status are not material
19
                   to the legality of the sale or concealed carrying of firearms.
20          The government has charged Mr. DeBorba in Counts 4 and 5 with making a
21   false statement during the purchase of a firearm specifically alleging on each count that
22   Mr. DeBorba “falsely represented himself to be a citizen of the United States of
23   America and falsely represented himself not to be an alien illegally or unlawfully in the
24   United States, and falsely represented himself not to be an alien who has been admitted
25   to the United States under a nonimmigrant visa.” Dkt. No. 9 at 3–4. In Count 6, the
26   government charged Mr. DeBorba with making a false claim to U.S. citizenship

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 1   specifically alleging that he “falsely and willfully represented himself to be a citizen of
 2   the United States in a Concealed Pistol License Application to the Washington State
 3   Department of Licensing[.]” Id. at 4. However, these alleged false statements were not,
 4   as a matter of law, material to the purchase of a firearm or made to an entity with a right
 5   to inquire into Mr. DeBorba’s citizenship, so the charged Counts fail to allege the
 6   materiality elements of the statutes charged. The Indictment thus fails to allege a crime
 7   in Counts 4, 5, and 6, and those counts must be dismissed.
 8          It is a long-established rule that “an indictment or information which does not set
 9   forth each and every element of the offense fails to allege an offense against the United
10   States.” United States v. Morrison, 536 F.2d 286, 287 (9th Cir. 1976) (citing United
11   States v. Debrow, 346 U.S. 374 (1953)). “An indictment must be a “plain, concise, and
12   definite written statement of the essential facts constituting the offense charged.”
13   Fed.R.Crim.P. 7(c)(1). “[A]n indictment is sufficient if it, first, contains the elements of
14   the offense charged and fairly informs the defendant of the charge against which he
15   must defend, and, second, enables him to plead an acquittal or conviction in bar of
16   future prosecutions for the same offense.” United States v. Bailey, 444 U.S. 394, 414
17   (1980) (internal quotations omitted).
18          Here, Counts 4, 5, and 6, fail to allege every element of the offenses charged
19   because they specify conduct which, as a matter of law, does not satisfy the materiality
20   element of the respective statutes. As discussed above, restriction on possession or
21   carrying of firearms based on citizenship or immigration status facially violates the
22   Second Amendment. As such, § 922(g)(5) and any similar restrictions are “void in
23   toto[.]” Young, 992 F.3d at 779. Therefore, as discussed further below, a person’s
24   citizenship and immigration status is not “material” to the purchase of a firearm nor did
25   the state have any right to inquire into citizenship and immigration status to restrict Mr.
26   DeBorba’s right to carry firearms.

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 1          In order to sustain a conviction for a false claim in the purchase of a firearm
 2   under 18 U.S.C. § 922(a)(6), the government must prove that the false statement was
 3   “material to the lawfulness of the sale or other disposition of such firearm[.]” 18 U.S.C.
 4   § 922(a)(6). This materiality requirement is met only if the false statement is one that
 5   would prevent the gun sale in question from legally occurring if the truth were known.
 6   In a contentious 5-4 opinion, the Supreme Court upheld a “straw purchaser” conviction
 7   under § 922(a)(6) where the buyer purchased the firearm for a family member who was
 8   also not legally prohibited from possessing firearms. See generally Abramski v. United
 9   States, 573 U.S. 169 (2014). Justice Kagan, writing for the narrow majority explained
10   that Mr. Abramski’s statement that he was the true purchaser of the firearm “was
11   material because had he revealed that he was purchasing the gun on [another person’s]
12   behalf, the sale could not have proceeded under the law—even though [the other
13   person] turned out to be an eligible gun owner. The sale, as an initial matter, would not
14   have complied with § 922(c)’s restrictions on absentee purchases.” Id. at 189. Justice
15   Scalia, writing for the four-justice dissent, reasoned that the “statement was not
16   ‘material to the lawfulness of the sale’ since the truth—that Abramski was buying the
17   gun for his uncle [who could legally own guns] with his uncle’s money—would not
18   have made the sale unlawful.” Id. at 194 (Scalia, J., dissenting).
19          While the majority and the dissent ultimately reached different resolutions of
20   Mr. Abramski’s case, their disagreement hinged less on the standard for materiality,
21   than on what was required for a gun sale to go forward. While Justice Kagan, for the
22   majority, found that statutory procedural record-keeping requirements could prevent a
23   gun sale from moving forward if not fulfilled, Justice Scalia, for the dissent, looked to
24   the substantive requirements for the sale to proceed. Compare id. at 179–91 with 194–
25   204. Yet both used nearly the same test to determine materiality—whether, had the gun
26   dealer known the true information, the gun sale could have gone forward. See id.

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 1          Here, as detailed above, the answer to that question is yes. Because § 922’s
 2   restrictions on gun possession and transfers to undocumented immigrants are facially
 3   unconstitutional and void, a gun dealer would have no legal basis to decline to sell a
 4   gun to Mr. DeBorba. Regardless of whether administrators thought it prudent to collect
 5   certain information about a gun purchaser, or added certain questions to the gun transfer
 6   form, those administrative decisions do not control the materiality analysis for §
 7   922(a)(6). As Justice Scalia posited (while disputing Mr. Abramski’s conviction under a
 8   separate statute, § 924(a)(1)(A)), such deference to executive actors raises major
 9   problems:
10          On the majority’s view, if the bureaucrats responsible for creating Form
            4473 [(the firearms transfer form)] decided to ask about the buyer’s favorite
11
            color, a false response would be a federal crime. That is not what the statute
12          says. The statute punishes misstatements “with respect to information
            required to be kept,” § 924(a)(1)(A) (emphasis added), not with respect to
13          “information contained in forms required to be kept.” Because neither the
14          Act nor any regulation requires a dealer to keep a record of whether a
            customer is purchasing a gun for himself or for an eligible third party, that
15          question had no place on Form 4473—any more than would the question
            whether the customer was purchasing the gun as a gift for a particular
16          individual and, if so, who that individual was. And the statute no more
17          criminalizes a false answer to an ultra vires question on Form 4473 than it
            criminalizes the purchaser’s volunteering of a false e-mail address on that
18          form.
19   Id. at 206 (Scalia, J., dissenting). So too, information that is not a legal basis to deny a
20   buyer’s purchase of a firearm is not “material” to the sale of the firearm under §
21   922(a)(6), even if a dealer or drafter of the firearm transfer form thought the
22   information would be prudent to gather.
23          Because the Second Amendment does not tolerate disarmament based on
24   citizenship or immigration status, the false statements alleged in Counts 4 and 5 were
25   not material as a matter of law. The Counts therefore fail to allege crimes under §
26

                                                                   FEDERAL PUBLIC DEFENDER
       MR. DEBORBA’S MOTION TO DISMISS INDICTMENT                       1331 Broadway, Suite 400
       (United States v. DeBorba, CR22-5139-DGE) - 46                         Tacoma, WA 98402
                                                                                  (253) 593-6710
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 1   922(a)(6) by failing to allege the materiality element of the statute, and therefore must
 2   be dismissed.
 3          The statute charged in Count 6 also contains a materiality element. The Ninth
 4   Circuit has long held that a required element of the crime of false claim to U.S.
 5   citizenship under 18 U.S.C. § 911 is that the false representation of U.S. citizenship
 6   must be “made to a person having some right to inquire or adequate reason for
 7   ascertaining a defendant’s citizenship[.]” United States v. Esparza-Ponce, 193 F.3d
 8   1133, 1137–38 (9th Cir. 1999) (quoting United States v. Achtner, 144 F.2d 49, 52 (2d
 9   Cir.1944)); see also Smiley v. United States, 181 F.2d 505, 508 (9th Cir. 1950) (same).
10   But, as discussed above, the Washington Department of Licensing could not
11   constitutionally deny a person a concealed carry permit based on their lack of U.S.
12   citizenship. See generally Bruen, 142 S. Ct. 2111. Therefore, the Department of
13   Licensing, as a matter of law, lacked any “right to inquire or adequate reason for
14   ascertaining [Mr. DeBorba’s] citizenship[.]” Esparza-Ponce, 193 F.3d at 1137–38. And
15   the Indictment thus fails to allege § 911’s materiality element in Count 6. Count 6, too,
16   must be dismissed.
17   III.   CONCLUSION
18          Mr. DeBorba, through counsel, asks this Court to dismiss the Indictment. Counts
19   1, 2, and 3 are unconstitutional both facially and as applied. And Counts 4, 5, and 6, fail
20   to allege crimes because they allege conduct that, as a matter of law, fail to satisfy the
21   materiality elements of the respective statutes. The Court therefore should dismiss the
22   Indictment and order Mr. DeBorba’s immediate release.
23          DATED this 29th day of August 2023.
24                                              Respectfully submitted,
25
                                                s/ Rebecca C. Fish
26                                              Assistant Federal Public Defender
                                                Attorney for João Ricardo DeBorba
                                                                  FEDERAL PUBLIC DEFENDER
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